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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                       Plaintiff,
v.
            1. DAVITA INC.,
            2. KENT THIRY,

                       Defendants.

_____________________________________________________________________________

      JOINT MOTION OF THE PARTIES FOR A BRIEF QUESTIONNAIRE TO
                             POTENTIAL JURORS
________________________________________________________________________

       Defendants DaVita Inc. and Kent Thiry, together with the Antitrust Division of the

Department of Justice (collectively the “Parties”) respectfully request that this Court provide a

brief, four-page questionnaire to potential jurors, attached as Exhibit A. In support of using this

questionnaire, the Parties state as follows:

       1.      “To be meaningful, the adequacy of voir dire examination must allow a party an

opportunity to make reasonably intelligent use of peremptory challenges and challenges for

cause.” Lowery v. City of Albuquerque, No. CIV 09-0457, 2012 WL 1372273, at 4 (D.N.M.

April 11, 2012). “[D]istrict courts have broad discretion in fashioning the method of exercising

peremptory challenges, and the jury selection procedure in general.” United States v. Morris,

623 F.2d 145, 151 (10th Cir. 1980). Furthermore, “[t]he Court’s goals are to make voir dire as

efficient as possible and to permit the parties to inquire into potential biases which they feel may




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lead to an impartial jury.” Lowery v. City of Albuquerque, 2012 WL 1372273, at 4 (D.N.M.

April 11, 2012).

        2.      This case concerns a prominent Colorado company and executive, and has

received significant media coverage. Given this, the parties agree that providing a brief custom

jury questionnaire will be helpful in expediting the formation of a fair and impartial jury.

        3.      The Court’s practice standards expressly provide for the parties to submit such a

brief questionnaire to the Court for consideration and use in cases of this kind. Judicial Practice

Standards of Hon. R. Brooke Jackson, District of Colorado, at 6 (“In particularly lengthy,

complicated or highly publicized cases, I will be happy to work with you on putting together a

short written questionnaire to be filled out by prospective jurors before voir dire begins.”)

        4.      The Parties agree that the juror questionnaire attached as Exhibit A will be helpful

in selecting a jury and will not cause undue delay.

        5.      Therefore, the Parties request that the Court provide this questionnaire to potential

jurors and ask that they complete the questionnaire before voir dire.

                                          CONCLUSION

        Accordingly, the Court should provide the questionnaire attached as Exhibit A to

potential jurors.




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Dated: February 23, 2022                    Respectfully submitted,


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Dated: February 23, 2022                      Respectfully submitted,


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                                CERTIFICATE OF SERVICE
       I certify that on February 23, 2022, I filed the above document with the Clerk of the
Court using CM/ECF, which will send electronic notification thereof to all registered counsel.

                                                    /s/ John F. Walsh III
                                                       John F. Walsh III




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